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        Coverage A is included within the Limit of                        (4) Underground      pipes,     flues      and
        Insurance shown in the Declarations as ap-                            drains.
        plicable to the covered building. Coverage A
                                                                          The items listed in b.(1) through b.(4)
        does not increase the Limit of Insurance.
                                                                          above are deleted from Property Not
      2. Coverage B- Demolition Cost Coverage                             Covered, but only with respect to the
                                                                          coverage described in this provision,
        With respect to the building that has sus-
                                                                          3.b.
        tained covered direct physical damage, we
        will pay the cost to demolish and clear the         E. Loss Payment
        site of undamaged parts of the same build-
        ing, as a consequence of enforcement of an                1. All following loss payment Provisions, E.2.
        ordinance or law that requires demolition of                 through E.3. are subject to the apportion-
        such undamaged property.                                     ment procedures set forth in Section 8 .3. of
                                                                     this endorsement.
        The Coinsurance Additional Condition does
        not apply to Demolition Cost Coverage.                    2. When there is a loss in value of an undam-
                                                                     aged portion of a building to which Coverage
      3. Coverage C - Increased Cost Of Con-                         A applies, the loss payment for that building,
         struction Coverage                                          including damaged and undamaged portions,
         a. With respect to the building that has                    will be determined as follows:
            sustained covered direct physical dam-                     a. If the Replacement Cost Coverage Op-
            age, we will pay the increased cost to:                       tion applies and the property is being
            (1) Repair or reconstruct damaged por-                        repaired or replaced, on the same or
                tions of that building; and/or                            another premises, we will not pay more
                                                                          than the lesser of:
            (2) Reconstruct or remodel undamaged
                portions of that building, whether or                     (1) The amount you would actually
                not demolition is required;                                   spend to repair, rebuild or recon-
                                                                              struct the building, but not for more
            wihen the increased cost is a conse-                              than the amount it would cost to re-
            quence of enforcement of the minimum                              store the building on the same
            requirements of the ordinance or law.                             premises and to the same height,
            However:                                                          floor area, style and comparable
                                                                              quality of the original property in-
            (1) This coverage applies only if the re-                         sured; or
                stored or remodeled property is in-
                tended for similar occupancy as the                       (2) The Limit of Insurance shown in the
                current property, unless such occu-                           Declarations as applicable to the
                pancy is not permitted by zoning or                           covered building.
                land use ordinance or law.                             b. If the Replacement Cost Coverage Op-
            (2) We will not pay for the increased                         tion applies and the property is not re-
                cost of construction if the building is                   paired or replaced,       or if the
                not repaired, reconstructed or re-                        Replacement Cost Coverage Option
                modeled.                                                  does not apply, we will not pay more
                                                                          than the lesser of:
                The Coinsurance Additional Condi-
                tion does not apply to Increased                          (1) The actual cash value of the build-
                Cost of Construction Coverage.                                ing at the time of loss; or

         b. When a building is damaged or de-                             (2) The Limit of Insurance shown in the
            stroyed and Coverage C applies to that                            Declarations as applicable to the
            building in accordance with 3.a. above,                           covered building.
            coverage for the increased cost of con-               3. The most we will pay, for the total of all cov-
            struction also applies to repair or con-                 ered losses for Demolition Cost and In-
            struction of the following, subject to the               creased Cost of Construction, is the
            same conditions stated in 3.a.:                          combined limit of $50,000, applicable to the
            (1) The cost of excavations, grading,                    following loss payment provisions:
                backfilling and filling;                               a. For Demolition Cost, we will not pay
            (2) Foundation of the building;                               more than the amount you actually
                                                                          spend to demolish and clear the site of
            (3) Pilings; and                                              the described premises.


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                                         State court records - Part 4 of 7
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                      b. With respect to the Increased Cost of                                    Assume:
                         Construction:
                                                                                                   • Wind is a Covered Cause of Loss; Flood is
                            (1) We will not pay for the increased                                    an excluded Cause of Loss
                                cost of construction:
                                                                                                   • The building has a value of $200,000
                                  (a) Until the property is actually re-
                                                                                                   • Total direct physical damage to building:
                                      paired or replaced, at the same
                                                                                                     $100,000
                                      or another premises; and
                                 (b) Unless the repairs or replace-                                • The ordinance or law in this jurisdiction is
                                                                                                     enforced when building damage equals or
                                        ment are made as soon as rea-
                                                                                                     exceeds 50% of the building's value
                                        sonably possible after the loss
                                        or damage, not to exceed two                               • Portion of direct physical damage that is
                                        years. We may extend this pe-                                covered (caused by wind): $30,000
                                        riod in writing during the two
                                                                                                   • Portion of direct physical damage that is not
                                     years. ,,;{J!)}/t~::::::,                                       covered (caused by flood): $70,000
                            (2) If the buildi® is repaired or replaced
                                at the saiiji;l prer,nises, or if you                              • Loss under Ordinance or Law Coverage C
                                elect to rebtitl'd:,:adli'iother premises,                           of this endorsement $60,000
                                the most we''"'''win pay for the in-                                 Step 1:
                                creased cost of construction is the
                                increased cost of constru~n::,..at                                          Determine the proportion that the cov-
                                the same premises.              ,::@f'..........,.,'!ft.                    ered direct physical damage bears to
                                                                                                            the total direct physical damage.
                            (3) If the ordinance or law r~ires
                                location to another preml~~l~'='~~
                                                                                   t#                           $30,000 I $1 00,000   = .30
  r<'l                          most we will pay for the iric'mased                                  Step 2.:
  0                             cost of construction is the increased
  00                                                                                                        Apply that proportion to the Ordinance
  ()()                          cost of construction at the new


                                                                                              ~~~::!th: :::i;~~,:~":o:t$::·:~~~pay unde•
  N
  ~
                                premises.
  0
  ~         F. The terms of this endorsement apply separately
  0
  o-            to each building to which this endorsement ap-
  N
  II'\
                plies.                                                                        tt     this endorsement for the Coverage C loss is
  0:::                                                                                               $18,000, subject to the applicable Limit of
  0
  u
            G. Under this endorsement we will not pay for loss                                       Insurance and any other applicable pro-
  :X:           due to any ordinance or law that:                                                    visions.
  (/)
  ct:
  N
                1. You were required to comply with before the                                       NOTE:       ~~~h,e procedure applies to
                                                                                                                r'Rij:::.
  f'-               loss, even if the building was undamaged;                                        losses und~(¢bverage A and 8 of this en-
                                                                                                     dorsement. II
  0                 and
  0

                                                                                                                     ~Pthe
  0
  0             2. You failed to comply with.
                                                                                             I. The provisions         coverage provided under
~0                                                                                              this endorsement are superseded by CP 04 05
            H. Example of Proportionate Loss Payment for Or-
               dinance or Law Coverage Losses (procedure as                                     Ordinance or Law Coverage form, if attached to
               set forth in Section 8 .3. of this endorsement)                                  and made a part of this policy.



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                                                                                                       IL 04 01 02 12



             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 FLORIDA - SINKHOLE LOSS COVERAGE
  This endorsement modifies insurance provided under the following:

           CAPITAL ASSETS (OUT PUT POLICY) COVERAGE PART
           COMMERCIAL PROPERTY COVERAGE PART
           FARM COVERAGE PART

                                                      Schedule


                       Premises Number                                         Building Number

               All Premises in the State of Florida                           All Building Numbers




   Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


  With respect to the location(s) indicated in the                  earth supporting the covered building, only if the
  Schedule, tne following provisions apply:                         settlement or systematic weakening results from
                                                                    contenporaneous movement or raveling of soils,
   A. When this endorsement is attached to the Stan-                sediments, or rock materials into subterranean
      dard Property Policy CP 00 99, the term Cover-                voids created by the effect of water on a lime-
      age Part in this endorsement is replaced by the               stone or similar rock formation.
      term Policy.
                                                                    Coverage for Sinkhole Loss includes stabilization
   B. When this endorsement is attached to the Farm                 of the building (including land stabilization) and
      Livestock Coverage Form, reference to loss                    repair to the foundation, provided such work is in
      (other than in the term Sinkhole Loss itself)                 accordance with the requirements of Florida In-
      means "loss" as defined in that coverage form.                surance Law and in accordance with the recom-
                                                                    mendation of a professional engineer and with
   C. The following is added to this Coverage Part as               notice to you. The professional engineer must be
      a Covered Cause of Loss. In the forms which                   selected or approved by us. However, until you
      address "specified causes of loss" , the following            enter into a contract for performance of building
      is also added as a "specified cause of loss".                 stabilization or foundation repair in accordance
      However, as a "specified cause of loss", the fol-             with the recommendations of the professional
      lowing does not apply to the Additional Coverage              engineer as set forth in a report from us:
       -Collapse.
                                                                    1. We will not pay for underpinning or grouting
       Sinkhole loss, meaning loss or damage to                        or any other repair technique performed
       Covered Property when "structural damage" to                    below the existing foundation of the building;
       the building, including the foundation, is caused               and
       by settlement or systematic weakening of the


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                 2. Our payment for Sinkhole Loss to Covered             F. With respect to a claim for alleged Sinkhole Loss,
                    Property may be limited to the actual cash                 the following provision is added:
                    value of the loss to such property.
                                                                               Following receipt by us of a report from a pro-
                You must enter into a contract for the perform-                fessional engineer or professional geologist on
                ance of building stabilization and/or foundation               the cause of loss and recommendations for land
                repair in accordance with the aforementioned re-               stabilization and repair of property, or if we deny
                commendations, within 90 days after we notify                  your claim, we will notify you of your right to par-
                you that there is coverage for your Sinkhole                   ticipate in a neutral evaluation program adminis-
                Loss. After you have entered into such contract,               tered by the Florida Department of Financial
                we will pay the amounts necessary to begin and                 Services (hereinafter referred to as the Depart-
                perform such repairs as the work is performed                  ment). For alleged Sinkhole Loss to commercial
                and the expenses are incurred.                                 residential or farm residential properties, this
                                                                               program applies instead of any mediation proce·
                However, if the professional engineer deter-
                                                                               dure set forth elsewhere in this policy, but does
                mines, prior to your ent~ttQtin4:> the aforemen-
                                                                               not invalidate the Appraisal Condition.
                tioned contract or prior t~)he start of repair work,
                that the repairs will ex®,ed the applicable Limit                 You or we may file a request with the Department
                of Insurance, we must\~tb~r/&>mplete the re-                      for neutral evaluation; the other party must com-
                commended repairs or P'iW''that Limit of Insur-                   ply with such request. We will pay reasonable
                ance upon such determination.               If the                costs associated with the neutral evaluation, re-
                aforementioned determination is made d!...!r:loo:Jhe              gardless of which party makes the request. But
                course of repair work and we have begijij"h{aRffu}                if a party chooses to hire a court reporter or ste-
                payments for the work performed, we nj~st eitl)$'                 nographer to contemporaneously record and do-
                complete the recommended repairs o(jeay <?:NY                     cument the neutral evaluation, that party must
                the remaining portion of the applicab!<f't~@if''of                bear the costs of those services. The neutral
  ...;t
  0
                Insurance upon such determination. The most                       evaluator will be selected from a list maintained
  00
  ()()
                we will pay for the total of all Sinkhole Loss, in-               by the Department. The recommendation of the
  N             cluding building and land stabilization and foun-          :::::::r.~~~l evaluator will not be binding on you or us.

                                                                           ~:1:~~-~J~ation in the neutral evaluation program
  ...;t
  0
                dation repair, is the applicable Limit of Insurance
  ...;t         on the affected building.
  0                                                                        :Jj1o@S''.not change your right to file suit against us
  o-            The stabilization and all other repairs to the Cov-        t@n accordance with the Legal Action Against Us
  N
  II'\          ered Property must be completed within 12                  ·.''Condition in this policy, except that the time for
  0:::
  0             months after entering into the contract for the                filing suit is extended for a period of 60 days fol-
  u
  :X:
                performance of these repairs, unless:                          lowing the conclusion of the neutral evaluation
  (/)                                                                          process or fiv~:':¥ea@i' whichever is laiter.
  ct:            1. There is a mutual agreement between you

                                                                                              ~;~~~;e
  N
  f'-
                    and us;
  0                                                                      G. Coverage for               Loss under this endorse-
  0              2. The claim is involved with the neutral evalu-           ment does not i@.rease the applicable Limit of
  0
  0                 ation process;                                          Insurance. Even'''''''if loss or damage qualifies
~0                                                                          under, or includes, both Catastrophic Ground
                 3. The claim is in litigation; or
                                                                            Cover Collapse (addressed elsewhere in this
                 4. The claim is under appraisal or mediation.              Coverage Part) and Sinkhole Loss, only one Limit
                                                                            of Insurance will apply to such loss or damage.
             D. Sinkhole Loss does not include:


-                1. Sinking or collapse of land into man-made
                    underground cavities; or
                 2. Earthquake.
                                                                         H. The following provision is added to the Duties In
                                                                            The Event Of Loss Or Damage Loss Condition:
                                                                               A claim for Sinkhole Loss, including lbut not lim-
                                                                               ited to initial, supplemental and reopened claims
             E. With respect to coverage provided by this en-                  is barred unless notice of claim is provided to us
                dorsement, the Earth Movement exclusion and                    in accordance with the terms of this policy within
                the Collap·se Exclusion do not apply.                          two years after you knew or reasonably should
                                                                               have known about the Sinkhole Loss.



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    I. The following definitions are added with respect                    e. Damage occurring on or after October
       to the coverage provided under this endorse-                           15, 2005, that qualifies as substantial
       ment:                                                                  structural damage as defined in the Flo-
                                                                              rida Building Code.
        1. "Structural damage" means a covered
           building, regardless of the date of its con-               2. "Primary structural member" means a struc-
           struction, has experienced the following:                     tural element designed to provide support
                                                                         and stability for the vertical or lateral loads
              a. Interior floor displacement or deflection
                                                                         of the overall structure.
                 in excess of acceptable variances as
                 defined in ACI 117-90 or the Florida                 3. "Primary structural system" means an as-
                 Building Code, which results in settle-                 semblage of "primary structural members".
                 ment related damage to the interior
                 such that the interior building structure       J . If we deny your claim for Sinkhole Loss without
                 or members become unfit for service or               performing testing under section 627.7072, Flo-
                 represent a safety hazard as def ined                rida Statutes, you may demand testing by com-
                 Wtithin the Florida Building Code;                   municating such demand to us in writing within
                                                                      60 days after you receive our denial of the claim.
              b. Foundation displacement or deflection in             You are responsible for 50% of the testing costs,
                 excess of acceptable variances as de-                or $2,500, whichever is less. If our professional
                 fined in ACI 318-95 or the Florida Build-            engineer or geologist provides written certif-
                 ing Code, which results in settlement                ication, pursuant to section 627.7073, that there
                 related damage to the "primary struc-                is sinkhole loss, we will reimburse you for the
                 tural members" or "primary structural                testing costs.
                 systems" and that prevents those
                 members or systems from supporting              K. You may not accept a rebate from any person
                 the loads and forces they were de·                 performing repairs for Sinkhole Loss covered
                 signed to support to the extent that               under this endorsement. If you receive a rebate,
                 stresses in those "primary structural              coverage under this endorsement is void and you
                 members"       or "primary structural              must refund the amount of the rebate to us.
                 systems" exceed one and one-third the
                 nominal strength allowed under the Flo-         L. If we deny your claim for Sinkhole Loss upon re-
                 rida Building Code for new buildings of            ceipt of written certification from a professional
                 similar structure, purpose, or location;           engineer or geologist, pursuant to section
                                                                    627.7073, that there is no sinkhole loss or that
              c. Damage that results in listing, leaning,           the cause of the damage was not sinkhole activ-
                 or buckling of the exterior load bearing           ity, and if the sinkhole claim was submitted with-
                 walls or other vertical "primary structural        out good faith grounds for submitting such claim,
                 members" to such an extent that a                  you shall reimburse us for 50% of the actual
                 plumb line passing through the center              costs of the analyses and services provided un-
                 of gravity does not fall inside the middle         der sections 627.7072 and 627.7073, or $2,500,
                 one-third of the base as defined within            whichever is less. You are not required to pay
                 the Florida Building Code;                         such reimbursement unless you requested the
              d. Damage that results in the building, or            analysis and services and we, before ordering
                 any portion of the building containing             the analysis, informed you in writinQI of the po-
                 "primary structural members"           or          tential for reimbursement and gave you the op-
                 "primary structural systems" , being sig-          portunity to withdraw the claim.
                 nificantly likely to imminently collapse
                                                                M. As a precondition to accepting payment for sink-
                 because of the movement or instability
                                                                   hole loss, you must file with the county clerk of
                 of the ground within the influence zone
                                                                   court, a copy of any sinkhole report regarding
                 of the supporting ground within the
                                                                   your property which was prepared on behalf or
                 sheer plane necessary for the purpose
                                                                   at your request. You will bear the cost of filing
                 of supporting such building as def ined
                                                                   and recording the sinkhole report.
                 within the Florida Building Code; or




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                                                                                                 COMMERCIAL GENERAL LIABILITY
                                                                                                                CG 00 01 12 07


                                 COMMERCIAL GENERAL LIABILITY COVERAGE FORM
           Various prov1s1ons in this policy restrict coverage.                                or settlements under Coverages A or 8
           Read the entire policy carefully to determine rights,                               or medical expenses under Coverage
           duties and what is and is not covered.                                              c.
                                                                                         No other obligation or liability to pay sums
           Throughout this policy the words "you" and "your"
                                                                                         or perform acts or services is covered unless
           refer to the Named Insured shown in the Declarations,
                                                                                         explicitly provided for under Supplementary
           and any other person or organi:zation qualifying as a
                                                                                         Payments - Coverages A and B.
           Named Insured under this P9l.~Y.i::]he words "we",
           "us" and "our" refer to th~i#'ti'mpl@y providing this                      b. This insurance applies to "bodily injury" and
           insurance.                    :II                                             "property damage" only if:

           The word " insured"         m;:~~$:: : : : 1hy
                                                  person or
                                                                                          (1) The "bodily injury" or "property
                                                                                              damage"' is caused by an "occurrence"
           organization qualifying as such under Section II
                                                                                              that takes place in the "coverage
           Who Is An Insured.                          .•.•:·:·:·:·.·                         territory";
           Other words and phrases that appear              in,{a~::~::i~                 (2) The "bodily injury" or "property
           marks have special meaning. Refer to Se@on V ..f::::'                              damage" occurs during the policy pe-
           Definitions.                           ·::~lt::::t=f=>                             riod; and
  II'\
  0                                                                                       (3) Prior to the policy period, no insured
  00       SECTION I - COVERAGES                                                               listed under   Pa~agraph   1. of Section II
  ()()
  N                                                                                                 Who Is An Insured and no
  ~        COVERAGE A BODILV INJURY AND PROPERTY
  0                                                                                             "employee" authorized by you to give
           DAMAGE LIABILITY
  ~                                                                                            or receive notice of an "occurrence" or
  0
  o-        1. Insuring Agreement.                                                             claim, knew that the "bodily injury" or
  N
  II'\
                                                                                                "property damage" had occurred, in
  0:::          a. We will pay those sums that the insured be-                                 whole or in part. If such a listed insured
  0                comes legally obligated to pay as damages
  u                                                                                            or authorized "employee" knew, prior to
  :X:
  (/)
                   because of "bodily injury" or "property                                     the pql.i~Y P.~.riod, that the "bodily injury"
  ct:              damage" to which this insurance applies.                                    or "pl%>~Y damage" occmred, then
  N
  f'-
                   We will have the right and duty to defend the                               any co'~@liation, change or resumption
  0                insured against any "suit" seeking those                                    of sucttf :"bodily injury" or "property
  0
  0                damages. However, we will have no duty to                                   damage@kluring or after the policy pe-
  0                defend! the insured against any "suit" seek-                                riod will 69 deemed to have been known
~0                 ing damages for "bodily injury" or "property                                prior to the policy period.
                   damage" to which this insurance does not
                   apply. We may, at our discretion, investigate                      c. "Bodily injury" or "property damage" which
                   any "occurrence" and settle any claim or                              occurs during the policy period and was not,
                    "suit" that may result. But:                                         prior to the policy period, known to have oc-

-                    (1) The amount we will pay for damages is
                         limited as described in Section Ill -
                         Limits Of Insurance; and
                                                                                         curred by any insured listed under Paragraph
                                                                                         1. of Section II - Who Is An Insured or any
                                                                                         "employee" authorized by you to give or re-
                                                                                         ceive notice of an "occurrence" or claim, in-
                     (2) Our right and duty to defend ends when                          cludes any continuation, change or
                         we have used up the applicable limit of                         resumption of that "bodily injury" or
                         insurance in the payment of judgments                           "property damage" after the end of the pol-
                                                                                         icy period.



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      d. "Bodily injury" or "property damage" will be                             also been assumed in the same
         deemed to have been known to have oc-                                    "insured contract"; and
         curred at the earliest time when any insured
                                                                             (b) Such attorney fees and litigation ex-
         listed under Paragraph 1. of Section II -
                                                                                 penses are for defense of that party
         Who Is An Insured or any "employee" au-
                                                                                 against a civil or alternative dispute
         thorized by you to give or receive notice of
                                                                                 resolution proceeding in which
         an "occurrence" or clai m:
                                                                                 damages to which this insurance
          (1) Reports all, or any part, of the "bodily                           applies are alleged.
              injury" or "property damage" to us or
                                                                     c. Liquor Liability
              any other insurer;
                                                                        "Bodily injury" or "property damage" for
          (2) Receives a written or verbal demand or
                                                                        which any insured may be held liable by
              claim for damages because of the
                                                                        reason of:
              "bodily injury" or "property damage";
              or                                                         (1) Causing or contributing to the intoxica-
                                                                             tion of any person;
          (3) Becomes aware by any other means
              that "bodily injury" or "property                          (2) The furnishing of alcoholic beverages to
              damage" has occurred or has begun to                           a person under the legal drinking age
              occur.                                                         or under the influence of alcohol; or
      e. Damages because of "'bodily injury" include                     (3) Any statue, ordinance or regulation re-
         damages claimed by any person or organ-                             lating to the sale, gift, distribution or use
         ization for care, loss of services or death re-                     of alcoholic beverages.
         sulting at any time from the "bodily injury" .
                                                                        This exclusion applies only if you are in the
   2. Exclusions                                                        business of manufacturing, distributing, sell-
                                                                        ing, serving or furnishing alcoholic bever-
     This insurance does not apply to:                                  ages.
      a. Expected Or Intended Injury                                 d. Workers'     Compensation         And      Similar
          "Bodily injury" or "property damage" ex-                      Laws
         pected or intended from the standpoint of the                  Any obligation of the insured under a work-
         insurec;l. This exclusion does not apply to                    ers' compensation, disability benefits or un-
          "bodily injury" resulting from the use of rea-                employment compensation law or any similar
         sonable force to protect persons or property.                  law.
      b. Contractual Liability                                       e. Employer's Liability
          "Bodily injury" or "property damage" for                      "Bodily Injury" to:
         whi.c h the insured is obligated to pay dam-
         ages by reason of the .assumption of liability                  (1) An "employee" of the insured arising
         in a contract or agreement. This exclusion                          out of and in the course of:
         does mot apply to liability for damages:                            (a) Employment by the insured; or
          (1) That the insured would have in the ab-                         (b) Performing duties related to the
              sence of the contract or agreement; or                             conduct of the insured's business;
          (2) Assumed in a contract or agreement                                 or
              that is an "insured contract", provided                    (2) The spouse, child, parent, brother or
              the "bodily injury" or          "property                      sister of that "employee" as a conse-
              damage" occurs subsequent to the ex-                           quence of Paragraph (1) above.
              ecution of the contract or agreement.
              Solely for the purposes of liability as-                  This exclusion applies whether the insured
              sumed in an "insured contract", rea-                      may be liable as an employer or in any other
              sonable attorney fees and necessary                       capacity and to .any obligation to share dam-
              litiigation expenses incurred by or for a                 ages with or repay someone else who must
              party other than an insured are deemed                    pay damages because of the injury.
              to be damages because of "bodily                          This exclusion does not apply to liability as-
              injury" or "property damage", provided:                   sumed by the insured under an "insured
              (a) Liability to such party for, or for the               contract".
                  cost of, that party's defense has


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               f. Pollution                                                         (i) Any insured; or
                  (1) "Bodily injury" or "property damage"                          (ii) Any person or organization for
                      arising out of the actual, alleged or                              whom you may be legally re-
                      threatened discharge, dispersal, seep-                             sponsible; or
                      age, migration, release or escape of
                                                                                (d) At or from any premises, site or lo-
                       "pollutants":
                                                                                    cation on which any insured or any
                        (a) At or from any premises, site or lo-                    contractors or subcontractors work-
                            cation which is or was at any time                      ing directly or indirectly on any in-
                            owned or occupied by, or rented or                      sured's behalf are performing
                            loaned to, any insured. However,                        operations if the "pollutants" are
                            this subparagraph does not apply to:                    brought on or to the premises, site
                                                                                    or location in connection with such
                            (I) " Bodily   injury" if sustained
                                                                                    operati•ons by such insured, con-
                                within a .b:~i!W.g and caused by
                                                                                    tractor or subcontractor. However,
                                smoke,:{:ffi'M~'#::. vapor or soot
                                                                                    this subparagraph does not apply to:
                                produd.@ by oi-'originating from
                                equip~~Dt th~tJs used to heat,                      (i) "Bodily          injury" or "property
                                cool or··aij~W#Klify the building,                             damage" arising out of the es-
                                or equipment that is used to                                  cape of fuels, lubricants or other
                                heat water for personal u.~~. by                              operating fluids which are
                                the building's occupant~(nhh~.ir                              needed to perform the normal
                                guests;                 :If'   \}ii!                          electrical, hydraulic or mechan-
                                                                                              ical functions necessary for the
                            (ii) " Bodily injury" or \~fprop~~
                                                                                              operation          of        "mobile
                                 damage" for which yoi:l'=ffl#Y:==tie
  -a                                                                                          equipment" or its parts, if such
                                 held liable, if you are a contrac-
  0                                                                                           fuels, lubricants or other oper-
  00                             tor and the owner or lessee of
  ()()                                                                                        ating fluids escape from a vehi-
  N                              such premises, site or location
  ~
                                                                                              cle part designed to hold, store
                                 has been added to your policy
  0                                                                                           or receive them. This exception
  ~                              as an additional insured with re-
  0                                                                                           does not apply if the "bodily
  o-                             spect to your ongoing oper-
  N
                                                                                              injury" or "property damage"
                                 ations performed for          that
  II'\                                                                                        arises out of the intentional dis-
  0:::                           additional insured at that prrem-
  0                                                                                           charge, dispersal or release of
  u                              ises, site or location and such
                                                                                              the fuels, lubricants or other
  :X:                            premises, site or location is not
  (/)                                                                                -~,,,,,,,_op~~.ating fluids, or if such fuels,
  ct:                            and never was owned or occu-
  N                                                                                    "":Ji~f-icants or other operating flu-
                                 pied by, or rented or loaned to,
  f'-
  0                              any insured, other than that ad-
                                                                                       ' 'i®.'     are brought on or to the
  0                                                                                           {#emises, site or location with
  0                              ditional insured; or
  0                                                                                           llie intent that they be dis-
~ 0                        (iii) " Bodily injury"or "property                                 charged, dispersed or released
                                damage" arising out of heat,                                  as part of the operations being
                                smoke or fumes from a "hostile                                performed by such insured,
                                fire";                                                        contractor or subcontractor;
                        (b) At or from any premises, site or lo-                    (ii) "Bodily injury" or "property

-                           cation which is or was at any time
                            used by or for any insured or others
                            for the handling, storage, disposal,
                                                                                         damage" sustained within a
                                                                                         building and caused by the re-
                                                                                         lease of gases, fumes or vapors
                            processing or treatment of waste;                            from materials brought into that
                                                                                         building in connection with op-
                        (c) Which are or were at any time
                                                                                         erations being performed by
                            transported,    handled,    stored,
                                                                                         you or on your behalf by a con-
                            treated, disposed of, or processed
                                                                                         tractor or subcontractor; or
                            as waste by or for:


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                (iii) "Bodily injury" or "property                    aircraft, "auto" or watercraft that is owned
                      damage" arising out of heat,                    or operated by or rented or loaned to any in-
                      smoke or fumes from a "hostile                  sured.
                      fire" .
                                                                      This exclusion does not apply to:
            (e) At or from any premises, site or lo-
                                                                      (1) A watercraft while ashore on premises
                cation on which any insured or any
                                                                          you own or rent;
                contractors or subcontractors work-
                ing directly or indirectly on any in-                 (2) A watercraft you do not own that is:
                sured's behalf are performing
                                                                            (a) Less than 26 feet long; and
                operations if the operations are to
                test for, monitor, clean up, remove,                        (b) Not being used to carry persons or
                contain, treat, detoxify or neutralize,                         property for a charge;
                or in any way respond to, or assess
                                                                      (3) Parking an "auto" on, or on the ways
                the effects of, "pollutants" .
                                                                            next to, premises you own or rent, pro-
        (2) Any loss, cost or expense arising out of                        vided the •auto" is not owned by or
            any:                                                            rented or loaned to you or the insured;
            (a) Request, demand, order or statutory                   (4) Liability assumed under any "insured
                or regulatory requirement that any                          contract" for tile ownership, mainte-
                insured or others test for, monitor,                        nance or use of aircraft or watercraft; or
                clean up, remove, contain, treat,
                                                                      (5) " Bodily injury" or "property damage"
                detoxify or neutralize, or in any way
                                                                          arising out of:
                respond to, or assess the effects of,
                "pollutants"; or                                            (a) the operation of machinery or
                                                                                equipment that is attached to, or
            (b) Claim or "suit" by or on behalf of a
                                                                                part of, a land vehicle that would
                governmental authority for damages
                                                                                qualify under the definition of
                because of testing for, monitoring,
                                                                                "mobile equipment" if it were not
                cleaning up, removing, containing,
                                                                                subject to a compulsory or financial
                treating, detoxifying or neutralizing,
                                                                                responsibility law or other motor ve-
                or in any way responding to, or as-
                                                                                hicle insurance law in the state
                sessing the effects of, "pollutants" .
                                                                                where it is licensed or principally
            However, this paragraph does not apply                              garaged; or
            to liability for damages because of
                                                                            (b) the operation of any of the machin-
            "property damage" that the insured
            would have in the absence of such re-                               ery or equipment listed in Paragraph
                                                                                f.(2) or f.(3) of the definition of
            quest, demand, order or statutory or re-
                                                                                "mobile equipment" .
            gulatory requirement, or such claim or
            "suit" by or on behalf of a governmental               h. Mobile Equipment
            authority.
                                                                      "Bodily injury" or "property damage" arising
     g. Aircraft, Auto Or Watercraft                                  out of:
        "Bodily injury" or "property damage" arising                  (1) The     transportation    of    "mobile
        out of the ownership, maintenance, use or                         equipment" by an "auto" owned or op-
        entrustment to others of any aircraft, "auto"                     erated by or rented or loaned to any in-
        or watercraft owned or operated by or rented                      sured; or
        or loaned to any insured. Use includes oper-
        ation and "loading or unloading" .                            (2) The use of "mobile equipment" in, or
                                                                          while in practice for, or while being pre-
        This exclusion applies even if the claims                         pared for, any prearranged racing,
        against any insured allege negligence or                          speed, demolition, or stunting activity.
        other wrongdoing in the supervision, hiring,
                                                                   i. War
        employment, training or monitoring of others
        by that insured, if the "occurrence" which                    "Bodily injury" or "property damage", how-
        caused the "bodily injury" or "property                       ever caused, arising, directly or indirectly,
        damage" involved the ownership, mainte-                       out of:
        nance, use or entrustment to others of any
                                                                      (1) War, including undeclared or civil war;



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                    (2) Warlike action by a military force, in-                          Paragraph (6) of this exclusion does not ap-
                        cluding action in hindering or defending                         ply to "property damage" included in the
                        against an actual or expected attack, by                         "products-completed operations hazard".
                        any government, sovereign or other au-
                                                                                      k. Damage To Your Product
                        thority using military personnel or other
                        agents; or                                                       "Property damage" to "your product" arising
                                                                                         out of it or any part of it.
                    (3) Insurrection,   rebellion,    revolution,
                        usurped power, or action by govern-                            I. Damage To Your Work
                        mental authority in hindering or defend-
                                                                                         "Property damage" to "your work" ans1ng
                        ing against any of t hese.
                                                                                         out of it or any part of it and included in the
                 j. Damage To Property                                                   "products-completed operations hazard".
                   "Property damage" to:                                                 This exclusion does not apply if the damaged
                                                                                         work or the work out of which the damage
                    (1) Property you o.w4Yr~ot. or occupy, in-
                                                                                         arises was performed on your behalf by a
                        cluding any coMs or e~penses incurred
                                                                                         subcontractor.
                        by you, or ani J9ther person, organiza-
                        tion or entity, ·:~~,.,...r..~P..ifr, replacement,            m. Damage To Impaired Property Or Prop-
                        enhancement, -r~gffitation or mainte-                            erty Not Physically Injured
                        nance of such property for any reason,
                                                                                          "Property damage" to "impaired property"
                        including prevention of injury tg:Jt=P~r­
                                                                                         or property that has not been physically in-
                        son or damage to another's p~pe'ifYI:it:,
                                                                                         jured, arising out of:
                    (2) Premises you sell, give awa~j::]br abJ.iji
                                                                                         (1) A defect, deficiency, inadequacy or
                        don, if the " property damage" '~~~~;iklt
  ,.._                  of any part of those premises; ...,.,,,,,,,,,,,.,.·                  dangerous condition in "your product"
  0                                                                                          or "your work" ; or
  00                (3) Property loaned to you;
  ()()                                                                                        A delay or failure by you or anyone act-
  N
  ~
                    (4) Personal property in the care, custody                                ing on your behalf to perform a contract
  0                     or control of the insured;                                            or agreement in accordance with its
  ~
  0                                                                                           terms.
  o-                (5) That particular part of real property on
  N                     which you or any contractors or sub-
  II'\
                                                                                         This exclusion does not apply to the loss of
  0:::                  contractors working directly or indirectly                       use of other property arising out of sudden
  0
  u                     on your behalf are performing oper-                              and accidental physical injury to "your
  :X:
  (/)
                        ations, if the "property damage" arises                          product" 9.r. "yoL,Jr. work" after it has been put
  ct:                   out of those operations; or                                      to its interi'i ifM..:U~e.
  N
                                                                                      n. Recall Of ·'l~f,~~ucts, Work Or Impaired
  ,.._
  0
                    (6) That particular part of any property that
  0                     must be restored, repaired or replaced                           Property    :;:;:;:;
  0
  0                     because "your work" was incorrectly
                                                                                         Damages c1Jliled for any loss, cost or ex-
§D                      performed on it.
                                                                                         pense incurred by you or others for the loss
                   Paragraphs (1), (3) and (4) of this exclusion                         of use, withdrawal, recall, inspection, repair,
                   do not apply to "property damage" (other                              replacement, adjustment, removal or dis-
                   than damage by fire) to premises, including                           posal of:
                   the contents of such premises, rented to you

-                  for a period of 7 or fewer consecutive days.
                   A separate limit of insurance applies to
                   Damage To Premises Rented To You as
                                                                                         (1) "Your product" ;
                                                                                         (2) "Your work"; or
                                                                                         (3) "Impaired property";
                   described in Section Ill - Limits Of Insur-
                   ance.                                                                 if such product, work, or property is with-
                                                                                         drawn or recalled from the market or from
                   Paragraph (2) of this exclusion does not ap-
                                                                                         use by any person or organization because
                   ply if the premises are "your work" and were
                                                                                         of a known or suspected defect, deficiency,
                   never occupied, rented or held for rental by
                                                                                         inadequacy or dangerous condition in it.
                   you.

---                Paragraphs (3), (4), (5) and (6) of this exclu-
                   sion do not apply to liability assumed under
                   a sidetrack agreement.
                                                                                      o. Personal And Advertising Injury
                                                                                         "Bodily injury" arising out of "personal and
                                                                                         advertising injury".


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       p. Electronic Data                                                 settle any claim or "suit" that may result.
                                                                          But:
          Damages arising out of the loss of, loss of
          use of, damage to, corruption of, inability to                  (1) The amount we will pay for damages is
          access, or inability to manipulate electronic                       limited as described in Section Ill -
          data.                                                               Limits Of Insurance; and
          As used in this exclusion, electronic data                      (2) Our right and duty to defend end when
          means information, facts or programs stored                         we have used up the applicable limit of
          as or on, created or used on, or transmitted                        insurance in the payment of judgments
          to or from computer software, including sys-                        or settlements under Coverages A or B
          tems and applications software, hard or                             or medical expenses under Coverage
          floppy disks, CD-ROMS, tapes, drives, cells,                         c.
          data p:rocessing devices or any other media
                                                                          No other obligation or liability to pay sums
          which are used with electronic-ally controlled
                                                                          or perform acts or services is covered unless
          equipment.
                                                                          explicitly provided for under Supplementary
       q. Distribution Of Material In Violation Of                        Payments - Coverages A and B .
          Statutes
                                                                      b. This insurance applies to "personal and ad-
          "Bodily injury" or "property damage" arising                   vertising injury" caused by an offense arising
          directly or indirectly out of any action or                    out of your business but only if the offense
          omission that violates or is alleged to violate:               was committed in the "coverage territory"
                                                                         during the policy period.
           (1) The Telephone Consumer Protection
               Act (TCPA), including any amendment              2. Exclusions
               of or addition to such law; or
                                                                      This insurance does not apply to:
           (2) The CAN-SPAM Act of 2003, including
               any amendment of or addition to such                   a. Knowing Violation Of Rights Of Another
               law; or                                                    "Personal and advertising injury" caused by
           (3) Any statute, ordinance or regulation,                      or at the direction of the insured with the
               other than the TCPA or CAN-SPAM Act                        knowledge that the act would violate the
               of 2003, that prohibits or limits the                      rights of another and would inflict "personal
               sending, transmitting, communicating or                    and advertising injury".
               distribution of material or information.               b. Material Published With Knowledge Of
      Exclusions c . through n. do not apply to damage                   Falsity
      by fire to premises while rented to you or tempo-                   "Personal and advertising injury" arising out
      rarily occupied by you with permission of the                       of oral or written publication of material, if
      owner. A separate limit of insurance applies to                     done by or at the direction of the insured
      this coverage as described in Section Ill - Lim-                    with knowledge of its falsity.
      its Of Insurance.
                                                                      c. Material Published Prior To Policy Period
   COVERAGE B PERSONAL AND ADVERTISING                                    "Personal and advertising injury" arising out
   INJURY LIABILITY                                                       of oral or written publication of material
                                                                          whose first publication took place before the
    1. Insurance Agreement
                                                                          beginning of the policy period.
       a. We will pay those sums that the insured be-
                                                                      d. Criminal Acts
          comes legally obligated to pay as damages
          because of "personal and advertising injury"                    "Personal and advertising injury" arising out
          to which this insurance applies. We will have                   of a criminal act committed by or at the di-
          the right and duty to defend the insured                        rection of the insured.
          against any "suit" seeking those damages.
                                                                      e. Contractual liability
          However, we will have no duty to defend the
          insured against any "suit" seeking damages                       "Personal and advertising injury" for which
          for "personal and advertising injury" to which                  the insured has assumed liability in a con-
          this insurance does not apply. We may, at                       tract or agreement. This exclusion does not
          our discretion, investigate any offense and                     apply to liability for damages that the insured
                                                                          would have in the absence of the contract
                                                                          or agreement.


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                f. Breach Of Contract                                                       k. Electronic Chatrooms Or Bulletin Boards
                   "Personal and advertising injury" arising out                                  "Personal and advertising injury" arising out
                   of a breach of contract, except an implied                                    of an electronic chatroom or bulletin board
                   contract to use another's advertising idea in                                 the insured hosts, owns, or over which the
                   your "advertisement".                                                         insured exercises control.
                g . Quality Or Performance Of Goods -                    Fai-                I. Unaut horized Use Of Another's Name Or
                    lure To Conform To Statements                                                Product
                    "Personal and advertising injury" arising out                                 "Personal and advertising injury" arising out
                   of the failure of goods, products or services                                 of the unauthorized use of another's name
                   to conform with any statement of quality or                                   or product in your e-mail address, domain
                   performance made in your "advertisement".                                     name or metatag, or any other similar tactics
                                                                                                 to mislead another's potential customers.
                h. Wrong Description Of Prices
                   "Personal and adv~ctjJM'§'~'i~l!Jry" arising out
                                                                                            m. Pollution
                   of the wrong des&iption of the price of                                        "Personal and advertising injury" arising out
                   goods, products of.f~_ervic~~- stated in your                                 of the actual, alleged or threatened dis-
                   "advertisement". ··=:}~)::=::::~:~r::::=-                                     charge, dispersal, seepage, migration, re-
                                                                                                 lease or escape of "pollutants" at any time.
                i. Infringement Of Copyright,               Patent,
                   Trademark Or Trade Secret                .·.·=·=·=·=· ·                  n.   Pollution-~elated

                    "Personal and advertising injury"    ji~'i'~,~~::~~                          Any loss, cost or expense arising• out of any:
                   of the infringement of copyrigtj{ pate@
                                                                                                 (1) Request, demand, order or statutory or
                   trademark, trade secret or other ii'lti:!lleGftlal
                                                                                                     regulatory requirement that any insured
  ()()             property rights. Under this exclusioli/''~'Gch
  0                                                                                                  or others test for, monitor, clean up, re-
                   other intellectual property rights do not in-
  00                                                                                                 move, contain, treat, detoxify or neutral-
  ()()             clude the use of another's advertising idea in
  N                                                                                                  ize, or in any way respond to, or assess
  ~
                   your "advertisement".
  0                                                                                                  the effects of, "pollutants"; or
  ~                However, this exclusion does not apply to
  0                                                                                                   Claim or suit by or on behalf of a gov-
  o-               infringement, in your "advertisement", of
  N                                                                                                   ernmental authority for damages be-
                   copyright, trade dress or slogan.
  II'\                                                                                                cause of testing for, monitoring,
  0:::
  0             j. Insureds In Media And Internet Type                                                cleaning up, removing, containing,
  u
  :X:
                   Businesses                                                                         treating, detoxifying or neutralizing, or in
  (/)
                                                                                                      any ~- r~ponding to, or assessing the
  ct:              "Personal and advertising injury" committed
  N                                                                                                   effects:J)k:tpollutants".
                   by an insured whose business is:
                                                                                                              ·\~j~~~r
  f'-
  0                                                                                         o. War
  0                (1) Advertising, broadcasting, publishing or
  0
  0                    telecasting;                                                              "Personal and advertising injury", however
~0                                                                                               caused, arising, directly or indirectly, out of:
                   (2) Designing or determining content of
                       websites for others; or                                                   (1) War, including undeclared or civil war;
                   (3) An Internet search, access, conternt or                                   (2) Warlike action by a military force, in-
                       service provider.                                                             cluding action in hindering or defending

-                  However, this exclusion does not apply to
                   Paragraphs 14.a., b. and c. of "personal and
                   advertising injury" under the Definitions
                                                                                                     against an actual or expected attack, by
                                                                                                     any government, sovereign or other au-
                                                                                                     thority using military personnel or other
                                                                                                     agents; or
                   Section.
                                                                                                 (3) Insurrection,   rebellion,    revolution,
                   For the purposes of this exclusion, the plac-
                                                                                                     usurped power, or action taken by gov-
                   ing of frames, borders or links, or advertis-
                                                                                                     ernmental authority in hindering or de-
                   ing, for you or others anywhere on the
                                                                                                     fending against any of these.
                   Internet, is not by itself, considered the busi-
                   ness of advertising, broadcasting, publishing

---                or telecasting.




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       p. Distribution Of Material In Violation Of             2. Exclusions
          Statutes
                                                                     We will not pay expenses for "bodily injury":
          "Personal and advertising injury" arising di-
                                                                     a. Any Insured
          rectly or indirectly out of any action or omis-
          sion that violates or is alleged to violate:                   To any insured, except "volunteer workers".
          (1) The Telephone Consumer Protection                      b. Hired Person
              Act (TCPA), including any amendment
                                                                         To a person hired to do work for or on behalf
              of or addition to such law; or
                                                                         of any insured or a tenant of any insured.
          (2) The CAN-SPAM Act of 2003, including
              any amendment of or addition to such
                                                                     c. Injury On Normally Occupied Premises
              law; or                                                    To a person injured on that part of premises
                                                                         you own or rent that the person normally oc-
          (3) Any statute, ordinance or regulation,
                                                                         cupies.
              other than the TCPA or CAN-SPAM Act
              of 2003, that prohibits or limits the                  d. Workers Compensation And Similar Laws
              sending, transmitting, communicating or
                                                                         To a person, wlhether or not an "employee"
              distribution of material or information.
                                                                         of any insured, if benefits for the "bodily
                                                                         injury" are payable or must be provided un-
   COVERAGE C MEDICAL PAYMENTS
                                                                         der a workers• compensation or disability
    1. Insuring Agreement                                                benefits laws or a similar law.

       a. We willl pay medical expenses as described                 e. Athletics Activities
          below for "bodily injury" caused by an acci-                   To a person injured while practicing, in-
          dent:                                                          structing or participating in any physical ex-
          (1) On premises you own or rent;                               ercises or games, sports, or athletic tests.

           (2) On ways next to premises you own or                    f. Products-Completed Operations Hazard
               rent; or                                                  Included within the "products-completed op-
           (3) Because of your operations;                               erations hazard".

          provided that:                                             g. Coverage A Exclusions

              (a) The accident takes place in the                        Excluded Under Coverage A.
                  "coverage territory" and during the
                  policy period;                             SUPPLEMENTARY PAYMENTS- COVERAGES A
                                                             ANDB
              (b) The expenses are incurred and re-
                  ported to us within one year of the          1. We will pay, with respect to any claim we inves-
                  date of the accident; and                          tigate or settle, or any "suit" against an insured
                                                                     we defend:
              (c ) The injured person submits to ex-
                   amination, at our expense, by phy-                a. All expenses we incur.
                   sicians of our choice as often as we
                                                                     b. Up to $250 tor cost of bail bonds required
                   reasonably require.
                                                                        because of accidents or traffic law violations
       b. We will make these payments regardless of                     arising out of the use of any vehicle to which
          fault. These payments will not exceed the                     the Bodily Injury Liability Coverage applies.
          applicable limit of insurance. We will pay                    We do not have to furnish these bonds.
          reasonable expenses for:
                                                                     c. The cost of bonds to release attachments,
          (1) First aid administered at the time of an                  but only for bond amounts within the appli-
              accident;                                                 cable limit of insurance. We do not have to
                                                                        furnish these bonds.
          (2) Necessary medical, surgical, x-ray and
              dental services, including prosthetic de-              d. All reasonable expenses incurred by the in-
              vices; and                                                sured at our request to assist us in the in-
                                                                        vestigation or defense of the claim or "suit",
          (3) Necessary ambulance, hospital, profes-
                                                                        including actual loss of earnings up to $250
              sional nursing and funeral services.
                                                                        a day because of time off from work.



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                e. All court costs taxed against the insured in                                 (c) Notify any other insurer whose cov-
                   the "suit" . However, these payments do not                                      erage is available to the indemnitee;
                   include attorneys' fees or attorneys' ex-                                        and
                   penses taxed against the insured.
                                                                                                (d) Cooperate with us with respect to
                 f. Prejudgment interest awarded against the                                        coordinating other applicable insur-
                    insured on that part of the judgment we pay.                                    ance available to the indemnitee;
                    It we make an otter to pay the applicable limit                                 and
                    of insurance, we will not pay any prejudg-
                                                                                            (2) Provides us with written authorization to:
                    ment interest based on that period of time
                    after the otter.                                                            (a) Obtain records and other informa-
                                                                                                    tion related to the "suit"; and
                g. All interest on the full amount of any judg-
                   ment that accrues after entry of the judgment                                (b) Conduct and control the defense of
                   and before we have paid, offered to pay, or                                      the ind·emnitee in such "suit".
                   deposited in court t1J~f~~tt.9f the judgment
                                                                                       So long as the above conditions are met, attor-
                   that is within the apP.Mable''tlrnit of insurance.
                                                                                       neys' fees incurred by us in the defense of that
                These payments will    nd~hedu~Jhe limits of in-                       indemnitee, necessary litigation expenses in-
                surance.                 ··=:}~)::=:::::::f::::=·                      curred by us and necessary litigation expenses
                                                                                       incurred by the indemnitee at our request will be
             2. If we defend an insured against a "suit" and an                        paid as Supplementary Payments.         Notwith-
                indemnitee of the insured is also narn~if':ij~~:.. a                   standing the provisions of Paragraph 2.b.(2) of
                party to the "suit", we will defend that i6,~m.nH~
                it all of the following conditions are meijf            rr             Section I - Coverage A - Bodily Injury and
                                                                                       Property Damage Liability, such payments will
                a. The "suit" against the                 indemni;~t:$.~~~~            not be deemed to be damages for "bodily injury"
  o-               damages for which the insured has assU·med                          and "property damage" and will not reduce the
  0                                                                                    limits of insurance.
  00               the liability of the indemnitee in a contract or
  ()()
  N
                   agreement that is an "insured contract";                        :::::::Q~::Qpligation to defend an insured's indemnitee
  ~
  0             b. This insurance applies to such liability as-                    ffand   ·l#:pay for attorney's fees and necessary liti-
  ~
                   sumed by the insured;                                           :~J:gmi.~f expenses as Supplementary Payments
  0
  o-                                                                               f)mds when we have used up the applicable limit
  N             c. The obligation to defend, or the cost of the                    ::=fot insurance in the payment of judgments or set-
  II'\
  0:::             defense of, that indemnitee, has also been                          tlements, or the conditions set forth above, or the
  0
  u
                   assumed by the insured in the same                                  terms of the agreement described in Paragraph
  :X:              "insured contract";                                                 f. above, are r:t.O. longE)r met.
  (/)
  ct:
  N
  f'-
                d. The allegations in the "suit" and the infor-
                   mation we know about the "occurrence" are                    SECTION II -      w~'&~ :ii::~~N INSURED
                                                                                                        ·:·:·:·:·:

                                                                                                 design~~~d
  0
  0                such that no conflict appears to exist be-
                                                                                 1. If you are                  in the Declarations as:
  0                tween the interests of the insured and the                                          :;:;:;::
  0
~0
                   interests of the indemnitee;                                        a. An individual, you and your spouse are in·
                                                                                           sureds, but only with respect to the conduct
                e. The indemnitee and the insured ask us to
                                                                                           of a business of which you are the sole
                   conduct and control the defense of that in-
                                                                                           owner.
                   demnitee against such "suit" and agree that
                   we can assign the same counsel to defend                            b. A partnership or joint venture, you are an in-

-                  the insured and the indemnitee; and
                 f. The indemnitee:
                                                                                          sured. Your members, your partners, and
                                                                                          their spouses are also insureds, but only with
                                                                                          respect to the conduct of your business.
                     (1) Agrees in writing to:
                                                                                       c. A limited liability company, you are an in-
                         (a) Cooperate with us in the investi-                            sured. Your members are also insureds, but
                             gation, settlement or defense of the                         only with respect to the conduct of your
                             "suit";                                                      business. Your managers are insureds, but
                                                                                          only with respect to their duties as your
                         (b) Immediately send us copies of any
                                                                                          managers.
                             demands, notices, summonses or

---                          legal papers received in connection
                             with the "suit";
                                                                                       d. An organization other than a partnership,
                                                                                          joint venture or limited liability company, you
                                                                                          are an insured. Your "executive officers" and
                                                                                          directors are insureds, but only with respect


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           to their duties as your officers or directors.                       you, any of your            "employees",
           Your stockholders are also insureds, but only                         "volunteer workers" , any partner or
           with respect to their liability as stockholders.                     member (if you are a partnership or joint
                                                                                venture), or any member (if you are a
        e. A trust, you are an insured. Your trustees are
                                                                                limited liability company).
           also insureds, but only with respect to their
           duties as trustees.                                          b. Any person (other than your "employee" or
                                                                           "volunteer worker"), or any organization
    2. Each of the following is also an insured:                           while acting as your real estate manager.
        a. Your "volunteer workers" only while per-                     c. Any person or organization having proper
           forming duties related to the conduct of your                   temporary custody of your property if you
           business, or your "employees" , other than                      die, but only:
           either your "executive officers" (if you are
           an organization other than a partnership, joint                  (1) With respect to liability arising out of the
           venture or limited liability company) or your                        maintenance or use of that property;
           managers (if you are a limited liability com-                        and
           pany), but only for acts within the scope of                     (2) Until your legal representative has been
           their employment by you or while performing                          appointed.
           duties related to the conduct of your busi-
           ness. However, none of these "employees"                     d. Your legal representative if you die, but only
           or "volunteer workers" are insureds for:                        with respect to duties as such. That repre-
                                                                           sentative will have all your rights and duties
            (1) "Bodily injury" or "personal advertjsing                   under this Coverage Part.
                injury":
                                                                 3. Any organization you newly acquire or form,
                (a1) To you, to your partners or mem-
                                                                    other than a partnership, joint venture or limited
                     bers (if you are a partnership or joint
                                                                    liability company, and over which you maintain
                     venture), to your members (if you
                                                                    owrnership or majority interest, will qualify as a
                     are a limited liability company), to a
                                                                    Named Insured if there is no other similar insur-
                     co-"employee" while in the course
                                                                    ance available to that organization. However:
                     of his or her employment or
                     performing duties related to the                   a. Coverage under this provision is afforded
                     conduct of your business, or to your                  only until the 90th day after you acquire or
                     other "volunteer workers" while                       form the organization or the end of the policy
                     performing duties related to the                      period, whichever is earlier;
                     conduct of your business;
                                                                        b. Coverage A does not apply to "bodily injury"
                (b) To the spouse, child, parent,                          or "property damage" that occurred before
                    brother or sister of that co-                          you acquired or formed the organization; and
                    "employee" or "volunteer worker"
                    as a consequence of Paragraph
                                                                        c. Coverage B does not apply to "personal and
                                                                           advertising injury" arising out of an offense
                    (1)(a) above;
                                                                           committed before you acquired or formed
                (c ) For which there is any obligation to                  the organization.
                     share damages with or repay
                     someone else who must pay dam-             No person or organization is an insured with respect
                     ages because of the injury de-             to the conduct of any current or past partnership, joint
                     scribed in Paragraphs (1)(a) or (b)        venture or limited liability company that is not shown
                     above; or                                  as a Named Insured in the Declarations.
                (d) Arising out of his or her providing
                                                                SECTION Ill- LIMITS OF INSURANCE
                    or failing to provide professional
                    health care services.                        1. The Limits of Insurance shown in the Declara-
            (2) "Property damage" to property:                      tions and the rules below fix the most we will pay
                                                                    regardless of the number of:
                (a) Owned, occupied or used by,
                                                                        a. Insureds;
                (b) Rented to, in the care, custody or
                    control of, or over which physical                  b. Claims made or "suits" brought; or
                    control is being exercised for any                  c. Persons or organizations making claims or
                    purpose by                                             bringing "suits".


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             2. The General Aggregate Limit is the most we will              SECTION IV - COMMERCIAL GENERAL LIABIL-
                pay for the sum of:                                          ITY CONDITIONS
                 a. Medical expenses under Coverage C;                         1. Bankruptcy
                 b. Damages under Coverage A, except dam-                            Bankruptcy or insolvency of the insured or of the
                    ages because of "bodily injury" or "property                     insured's estate will not relieve us of our obli-
                    damage" included in the           "products-                     gations under this Coverage Part.
                    completed operations hazard"; and
                                                                               2. Duties In The Event Of Occurrence, Offense,
                 c. Damages under Coverage B.
                                                                                  Claim Or Suit
             3. The Products-Completed Operations Aggregate                          a. You must see to it that we are notified as
                Limit is the most we will pay under Coverage A                          soon as practicable of an "occurrence" or
                for damages because of "bodily injury" and                              an offense which may result in a claim. To
                "property damage" inclUcJf;l.Q.... in the "products-                    the extent possible, notice should include:
                completed operations h~rff*:;::}::::,
                                                                                         (1) How, when and where the "occurrence"
             4. Subject to Paragraph     2Jli~~ove, ";~e  Personal and                       or offense took place;
                Advertising Injury Limit ·::r{hJh~:::W'ost we will pay
                                                                                         (2) The names and addresses of any in-
                under Coverage B for tffif''hlifii of all damages
                                                                                             jured persons and witnesses; and
                because of all "personal and advertising injury"
                sustained by any one person or organiza,~~~::,:,..                       (3) The nature and location of any injury or
             5. Subject to Paragraph 2. or 3. above,        :W:~';~·~:~&.                    damage arising out of the "occurrence"
                                                                                             or offense.
                applies, the Each Occurrence Limit isi)~e m6$1:
                we will pay for the sum of:          · :~lt::::t/''::::·             b. If a claim is made or "suit" is brought against
  0                                                                                     any insured, you must:
  .-             a. Damages under Coverage A; and
  00
  ()()
                                                                                         (1) Immediately record the specifics of the
                 b. Medical expenses under Coverage C

                                                                                ~~~~) ~:~~Y :~ :~:0:n:5 :,:c:::,:celved;
  N
  ~
  0             because of all "bodily injury" and "property
  ~
  0             damage" arising out of any one "occurrence".
  o-
  N
  II'\
  0:::
             6. Subject to Paragraph 5. above, the Damage To
                Premises Rented To You Limit is the most we
                                                                                rr       You must see to it that we receive written
                                                                                         notice of the claim or "suit" as soon as
  0
  u             will pay under Coverage A for damages because                            practicable.
  :X:           of "property damage" to any one premises, while
  (/)
                rented to you, or in the case of damage by fire,                     c. You and aQ.~,. o~t!~r involved insured must:
  ct:
  N
  f'-           while rented to you or temporarily occupied by                           (1)   lmmedl~tmt' send us copies of any de-
  0             you with permission of the owner.                                              mands, Jjotices, summonses or legal
  0
  0                                                                                            papers t~eived in connection with the
  0          7. Subject to Paragraph 5. above, the Medical Ex-                                 claim or'''""suit";
~0              pense Limit is the most we will pay under Cover-
                age C for all medical expenses because of                                (2) Authorize us to obtain records and other
                "bodily injury" sustained by any one person.                                 information;
                                                                                         (3) Cooperate with us in the investigation
            The Limits of Insurance of this Coverage Part apply                              or settlement of the claim or defense

-           separately to each consecutive annual period and to
            any remaining period of less than 12 months, starting
            with the beginning of the policy period shown in the
                                                                                             against the "suit" ; and
                                                                                         (4) Assist us, upon our request, in the en-
                                                                                             forcement of any right against any per-
            Declarations, unless the policy period is extended af-
            ter issuance for an additional period of less than 12                            son or organization which may be liable
            months. In that case, the additional period will be                              to the insured because of injury or
            deemed part of the last preceding period for purposes                            damage to which this insurance may
            of determining the Limits of Insurance.                                          also apply.
                                                                                     d. No insured will, except at that insured's own


---                                                                                     cost, voluntarily make a payment, assume
                                                                                        any obligation, or incur any expense, other
                                                                                        than for first aid, without our consent.




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   3. Legal Action Against Us                                                    (iv) If the loss arises out of the
                                                                                      maintenance or use of aircraft,
      No person or organization has a right under this
                                                                                      "autos" or watercraft to the ex-
      Coverage part:
                                                                                      tent not subject to Exclusion g.
       a. To join us as a party or otherwise bring us                                 of Section I - Coverage A -
          into a "suit" asking tor damages from an in-                                Bodily Injury And Property
          sured; or                                                                   Damage Liability.
       b. To sue us on this Coverage Part unless all                         (b) Any other primary insurance avail-
          of its items have been fully complied with.                            able to you covering liability for
                                                                                 damages arising out of the premises
      A person or organization may sue us to recover
                                                                                 or operations, or the products and
      on an agreed settlement or on a final judgment
                                                                                 completed operations, for which you
      against an insured; but we will not be liable for
                                                                                 have been added as an additional
      damages that are not payable under the terms
                                                                                 insured by attachment of an en-
      of this Coverage Part or that are in excess of the
                                                                                 dorsement.
      applicable limit of insurance. An agreed settle-
      ment means a settlement and release of liability                    (2) When this insurance is excess, we will
      signed by us, the insured and the claimant or the                       have no duty under Coverages A or B
      claimant's legal representative.                                        to defend the insured against any "suit"
                                                                              if any other insurer has a duty to defend
    4. Other Insurance                                                        the insured against that "suit". If no
      If other valid and collectible insurance is available                   other insurer defends, we will undertake
      to the insured for a loss we cover under Cover-                         to do so, but we will be entitled to the
      ages A and B of this Coverage Part, our obli-                           insured's rights against all those other
      gations are limited as follows:                                         insurers.

       a. Primary Insurance                                               (3) When this insurance is excess over
                                                                              other insurance, we will pay only our
          This insurance is primary except when Para-                         share of the amount of the loss, if any,
          graph b. below applies. If this insurance is                        that exceeds the sum of:
          primary, our obligations are not affected un-
          less any of the other insurance is also pri-                       (a) The total amount that all such other
          mary. Then, we will share with all that other                          insurance would pay for the loss in
          insurance by the method described in Para-                             the absence of this insurance; and
          graph c. below.                                                    (b) The total of all deductible and self-
       b. Excess Insurance                                                       insured amounts under all that other
                                                                                 insurance.
           (1) This insurance is excess over:
                                                                          (4) We will share the remaining loss, if any,
               (a) Any of the other insurance, whether                        with any other insurance that is not de-
                   primary, excess, contingent or on
                   any other basis:
                                                                              scribed in this Excess Insurance pro-
                                                                              vision and was not bought specifically to                      ..
                                                                                                                                             X
                                                                                                                                             0




                    (i) That is Fire, Extended Cover-                         apply in excess of the Limits of Insur-
                        age, Builder's Risk, Installation                     ance shown in the Declarations of this
                        Risk or similar coverage for                          Coverage Part.
                        "your work";                                   c. Method Of Sharing
                   (ii). That is Fire insurance for prem-                If all of the other insurance permits contrib-
                         ises rented to you or temporarily               ution by equal shares, we will follow this
                         occupied by you with permis-                    method also. Under this approach each in-
                         sion of the owner;                              surer contributes equal amounts until it has
                   (iii) That is insurance purchased by                  paid its applicable limit of insurance or none
                         you to cover your liability as a                of the loss remains, whichever comes first.
                         tenant for "property damage" to                 If any of the other insurance does not permit
                         premises rented to you or tem-                  contribution by equal shares, we will contrib-
                         porarily occupied by you with                   ute by limits. Under this method, each insur-
                         permission of the owner; or                     er's share is based on the ratio of its
                                                                         applicable limit of insurance to the total ap-
                                                                         plicable limits of insurance of all insurers.


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             5. Premium Audit                                                    9. When We Do Not Renew
                 a. We will compute all premiums for this Cov-                         If we decide not to renew this Coverage Part, we
                    erage Part in accordance with our rules and                        will mail or deliver to the first Named Insured
                    rates.                                                             shown in the Declarations written notice of the
                                                                                       nonrenewal not less than 30 days before the ex-
                 b. Premium shown in this Coverage Part as
                                                                                       piration date.
                    advance premium is a deposit premium only.
                    At the close of each audit period we will                          If notice is mailed, proof of mailing will be suffi-
                    compute the earned premium for that period                         cient proof of notice.
                    and send notice to the first Named Insured.
                    The due date for audit and retrospective                   SECTION V - DEFINITIONS
                    premiums is the date shown as the due date
                    on the bill. If the sum of the advance and                   1. "Advertisement" means a notice that is broad-
                    audit premiums paid for the policy period is                    cast or published to the general public or specific
                    greater than the earq~w(liff.%:J1ium, we wi ll re-              market segments about your goods, products or
                    turn the excess to t@'. first''Named Insured.                   services for the purpose of attracting customers

                                          ln~&.(ed ~w>t
                                                                                    or supporters. For the purposes of this definition:
                 c. The first Named                      keep records
                    of the information \J\i~:':::ri:e'ed for premium                      a. Notices that are published include material
                    computation, and send· us copies at such                                 placed on the Internet or on similar electronic
                    times as we may request.                                                 means of communication; and
                                                              .•.•:·:·:·:·.·



                 ::::::p~::h~:                                 ~~;w~~
                                                                                          b. Regarding web-sites, only that part of a
             6
                                                                                             web-site that is about your goods, products
                                      poHcy, you agme                                        or services for the purposes of attracting
                 a. The statements in the         Declaratio~Jt~~~r:~~­                      customers or supporters is considered an
                                                                                             advertisement.
  .-                curate and complete;
  00
  ()()
                 b. Those statements are based upon represen-                    2•...~~U!to" means:
  N
  ~                 tations you made to us; and                                   !i:i!l:f; ::::::::}{i::land motor vehicle, trailer or semitrailer
  a
  ~
                 c. We have issued this policy in reliance upon                   tt::=::::::::t~~signed for travel on public roads, including
  a                                                                               ::::::::         any attached machinery or equipment; or
  o-                your representations.
  N                                                                               ~~1~~
  II'\                                                                                    b. Any other land vehicle that is subject to a
  0:::       7. Separation Of Insured
  a                                                                                          compulsory or financial responsibility law or
  u
  :X:
                 Except with respect to the Limits of Insurance,                             other motor behicle insurance law in the
  (/)            and any rights or duties specifically assigned in                           state whe~~::. it ,fs.,: licensed or principally ga-
  ct:
  N              this Coverage Part fo the first Named Insured,                              raged.    -:::::;:::::::::r==··
  f'-            this insurance applies:
  a                                                                                    However, "autof:t does not include                 "mobile
  a
  a              a. As if -each Named Insured were the only                            equipment".   }}
  a                                                                                                         ·:·:·:·:
                    Named Insured; and
~ 0                                                                              3. "Bodily injury" means bodily injury, sickness or
                 b. Separately to each insured against whom                         disease sustained by a person, including death
                    claim is made or "suit" is brought.                             resulting from any of these at any time.
             8. Transfer Of Rights Of Recovery Against Oth-                      4. "Coverage territory" means:

-
                ers To Us
                                                                                          a. The United States of America (including its
                 If the insured has rights to recover all or part of                         territories and possessions), Puerto Rico and
                 any payment we have made under this Coverage                                Canada;
                 Part, those rights are transferred to us. The in-
                 sured must do nothing after loss to impair them.                         b. International waters or airspace, but only if
                 At our request, the insured will bring "suit" or                            the injury or damage occurs in the course of
                 transfer those rights to us and help us enforce                             travel or transportation between any places
                 them.                                                                       included in Paragraph a. above; or



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       c. All other parts of the world if the injury or              c. Any easement or license agreement, except
          damage arises out of:                                         in connection with construction or demolition
                                                                        operations on or within 50 feet of a railroad;
           ( 1) Goods or products made or sold by you
                in the territory described in Paragraph              d. An obligation, as required by ordinance, to
                a .. above;                                             indemnify a municipality, except in con-
                                                                        nection with work for a municipality;
           (2) The activities of a person whose home
               is in the territory described in Paragraph            e. An elevator maintenance agreement;
               a. above, but is away for a short time
                                                                      f. That part of any other contract or agreement
               on your business; or
                                                                         pertaining to your business (including an in-
           (3) "Personal and advertising injury" of·                     demnification of a municipality in connection
               tenses that take place through the In·                    with work performed for a municipality) under
               ternet or similar electronic means of                     which you assume the tort liability of another
               communication                                             party to pay for "bodily injury" o( "property
                                                                         damage" to a third person or organization.
      provided the insured's responsibility to pay dam-
                                                                         Tort liability means a liability that would be
      ages is determined in a "suit" on the merits, in
                                                                         imposed by law in the absence of any con-
      the territory described in Paragraph a. above or
                                                                         tract or agreement.
      in a settlement we agree to.
                                                                         Paragraph f. does not include that part of any
   5. "Employee" includes a    "leased worker" .                         contract or agreement:
      "Employee" does not include a "temporary
      worker".                                                           (1) That indemnifies a railroad for "bodily
                                                                             injury" or "property damage" arising out
   6. "Executive officer" means a person holding any                         of construction or demolition operations,
      of the officer positions created by your charter,                      within 50 feet of any railroad property
      constitution, by-laws or any other similar govern-                     and affecting any railroad bridge or
      ing document.                                                          trestle, tracks, roadbeds, tunnel, under-
                                                                             pass or crossing;
   7. "Hostile fire" means one which becomes uncon-
      trollable or breaks out from where it was intended                 (2) That indemnifies an architect, engineer
      to be.                                                                  or surveyor for injury or damage arising
                                                                              out of:
   8. "Impaired property" means tangible property,
                                                                             (a) Preparing, approving, or failing to
      other than "your product" or "your work", that
                                                                                 prepare or approve, maps, shop
      cannot be used or is less useful because:
                                                                                 drawings, opinions, reports, sur-
       a. It incorporates "your product" or "your                                veys, field orders, change orders or
          work" that is known or thought to be defec-                            drawings and specifications; or
          tive , deficient, inadequate or dangerous; or
                                                                             (b) Giving directions or instructions, or
       b. You have failed to fulfill the terms of a con-
          tract or agreement;
                                                                                 failing to give them, if that is the
                                                                                 primary cause of the injury or dam-                       ..
                                                                                                                                           ~


                                                                                 age; or
      if such property can be restored to use by the
      repair, replacement, adjustment or removal of                      (3) Under which the insured, if an architect,
      "your product" or "your work" or your fulfilling                       engineer or surveyor, assumes liability
      the terms of the contract or agreement.                                for an injury or damage arising out of the
                                                                             insured's rendering or failure to render
   9. "lnsu(ed cont(act" means:                                              professional services, including those
       a. A contract for a lease of premises. However,                       listed in (2) above and supervisory, in-
          that portion of the contract for a lease of                        spection, architectural or engineering
          premises that indemnifies any person or or-                        activities.
          ganization for damage by fire to premises
                                                             10. "Leased worker" means a person leased to you
          while rented to you or temporarily occupied
                                                                     by a labor leasing firm under an agreement be-
          by you with permission of the owner is not
                                                                     tween you and the labor leasing firm, to perform
          an "insured contract" ;
                                                                     duties related to the conduct of your business.
      b. A sidetrack agreement;                                       "Leased worker" does not include a ''temporary
                                                                     worker".



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            11. "Loading or unloading" means the handling of                                   equipment are not "mobile equipment" but
                property:                                                                      will be considered "autos":
                a. After it is moved from the place where it is                                 (1) Equipment designed primarily for:
                   accepted for movement into or onto an air-
                                                                                                    (a) Snow removal;
                   craft, watercraft or "auto";
                                                                                                    (b) Road maintenance, but not con-
                b. While it is in or on an aircraft, watercraft or
                                                                                                        struction or resurfacing; or
                    "auto"; or
                                                                                                    (c) Street cleaning;
                c. While tit is being moved from an aircraft, wa-
                   tercraft or "auto" to the place where it is fi-                              (2) Cherry pickers and similar devices
                   nally delivered;                                                                 mounted on automobiles or truck
                                                                                                    chassis and used to raise or lower
                but "loadirng or unloading" does not include the
                                                                                                    workers; and
                movement of property by means of a mechanical
                device, other than a h~~jfu~. that is not at-                                   (3) Air compressors, pumps and genera-
                tached to the aircraft, w.:@!ircrari?6r "auto".                                     tors, including spraying, welding, build-

            12. "Mobile equipment"    mJ'~  aQy{of the following
                                                                                                    ing cleaning, geophysical exploration,
                                                                                                    lighting and well servicing equipment.
                types of land vehicles, 'mruoo1ng any attached
                machinery or equipment:                                                However, "mobile equipment" does not include
                                                                                       any land vehicles that are subject to a compul-
                a. Bulldozers, farm machinery,        for~HM::t~md                     sory or financial responsibility law or other motor
                    other vehicles designed for use .:P.f.i'ncipalJy                   vehicle insurance law in the state where it is li-
                    off public roads·               }}                rr:              censed or principally garaged. Land vehicles
                b . Vehicles maint~inedfor use    solely:J~j:limY.g~                   subject to a compulsory or financial responsibility
                                                                                       law or other motor vehicle insurance law are
  N                 to premises you own or rent;             ... ..
  .-                                                                                   considered "autos" .
  00
  ()()          c. Vehicles that travel on crawler treads;
  N                                                                           13((~0~i.il.rrence" means an accident, including con-
  ~             d. Vehicles, whether self-propelled or not,
  a                                                                              tftinu®.~ or repeated exposure to substantially the
  ~                maintained primarily to provide mobility to
  a                                                                              rrsaffie''''general harmful conditions.
  o-               permanently mounted:                                          :·:·:·:·
  N                                                                           14;::r..Personal and advertising injury" means injury,
  II'\              (1) Power cranes, shovels, loaders, diggers
  0:::
                        or dri\!s; or                                               including consequential "bodily injury" , arising
  a                                                                                 out of one or more of the following offenses:
  u
  :X:                (2) Road construclion or resurfacing equip-
  (/)
  ct:                    ment such as graders, scrapers or roll-                            a. False arrest~. detention or imprisonment;
  N
  f'-
                         ers;                                                               b. Malicious   ;~~~~·~tion;
  a
  a             e. Vehicles not described in Paragraph a. , b.,                             c. The wrongfJ:!i!~viction from, wrongful entry
  a                c. or d. above that are not self-propelled and
  a                                                                                            into, or invaSi'dn of the right of private occu-
~0                 are maintained primarily to provide mobility                                pancy of a foam, dwelling Of premises that a
                   to permanently attached equipment of the                                    person occupies, committed by or on behalf
                   following types:                                                            of its owner, landlord or lessor;
                    (1) Air compressors, pumps and genera-                                  d. Oral or written publication, in any manner, of
                        tors, including spraying, welding, build-                              material that slanders or libels a person or

-                       ing cleaning, geophysical exploration,
                        lighting and well servicing equipment;
                        or
                                                                                               organization or disparages a person's or or-
                                                                                               ganization's goods, products or services;
                                                                                            e. Oral or written publication, in any manner, of
                    (2) Cherry pickers and similar devices used                                material that violates a person's right of pri-
                        to raise or lower workers;                                             vacy;
                 f. Vehicles not described in Paragraph a., b.,                             f. The use of another's advertising idea in your
                    c. or d. above maintained primarily for pur-                               "advertisement"; or
                    poses other than the transportation of per-
                    sons or cargo.                                                          g. Infringing upon another's copyright, trade

---                 However, self-propelled vehicles with the
                    following types of permanently attached
                                                                                               dress or slogan in your "advertisement".

                                                                              15. "Pollutants" mean any solid, liquid, gaseous or
                                                                                  thermal irritant or contaminant, including smoke,


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       vapor, soot, fumes, acids, alkalis, chemicals and                  such loss of use shall be deemed to occur
       waste. Waste includes materials to be recycled,                    at the time of the physical injury that caused
       reconditioned or reclaimed.                                        it; or

   16. "Products-completed operations hazard":                        b. Loss of use of tangible property that is not
                                                                          physically injured. All such loss of use shall
       a. Includes all "bodily injury" and "property                      be deemed to occur at the time of the
           damage" occurring away from premises you                       "occurrence" that caused it.
           own or rent and arising out of "your product"
           or "your work" except:                                     For the purposes of this insurance, electronic
                                                                      data is not tangible property.
           ( 1) Products that are still in your physical
               possession; or                                         As used in this definition, electronic data means
                                                                      information, facts or programs stored as or on,
           (2) Work that has not yet been completed                   created or used on, or transmitted to or from
               or abandoned. However, "your work"                     computer software, including systems and appli-
               w~ll be deemed completed at the earliest               cations software, hard or floppy disks,
               of the following times:                                CD-ROMS, tapes, drives, cells, data processing
               (a) When all of the work called for in                 devices or any other media which are used with
                   your contract has been completed.                  electronically controlled equipment.

               (b) When all of the work to be done at         16. "Suit" means a civil proceeding in which dam-
                   the job site has been completed if             ages because of "bodily injury", "property
                   your contract calls for work at more           damage" or "personal and advertising injury" to
                   than one job site.                             which this insurance applies are alleged. "Suit"
                                                                  inc ludes:
               (c) When that part of the work done at
                   a job site has been put to its in-                 a. An arbitration proceeding in which such
                   tended use by any person or organ-                    damages are claimed and to which the in-
                   ization other than another contractor                 sured must submit or does submit with our
                   or subcontractor working on the                       consent; or
                   same project.
                                                                      b. Any other alternative dispute resolution pro-
               Work that may need service, mainte-                        ceeding in which such damages are claimed
               nance, correction repair or replacement,                   and to which the insured submits with our
               but which is otherwise complete, will be                   consent.
               treated as completed.
                                                              19. "Temporary worker" means a person who is fur-
       b. Does not include "bodily injury" or "property               nished to you to substitute for a permanent
           damage" arising out of:                                    "employee" on leave or to meet seasonal or
           (1) The transportation of property, unless                 sho.rt-term workload conditions.
               the injury or damage arises out of a           20. "Volunteer worker" means a person who is not
               condition in or on a vehicle not owned
               or operated by you, and that condition
                                                                  your "employee", and who donates his or her                               ..
                                                                                                                                            i:i

                                                                  work and acts at the direction of and within the
               was created by the "loading or
                                                                  scope of duties determined by you, and is not
               unloading" of that vehicle by any in-
                                                                  paid a fee, salary or other compensation by you
               sured;
                                                                  or anyone else for their work performed for you.
           (2) The existence of tools, uninstalled
               equipment or abandoned or unused               21. "Your product":
               materials; or                                          a. Means:
           (3) Products or operations for which the                        (1) Any goods or products, other than real
               classification, listed in the Declarat ions                     property, manufactured, sold, handled,
               or in a policy schedule, states that pro-                       distributed or disposed of by:
               ducts-completed operations are subject
               to the General Aggregate Limit.                                (a) You;
                                                                              (b) Others trading under your name; or
   17. "Property damage" means:
                                                                              (c) A person or organization whose
       a. Physical injury to tangible property, including
                                                                                  business or assets you have ac-
          all resulting loss of use of that property. All
                                                                                  quired; and


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                    (2) Containers {other than vehicles}, mate-               22. ''Your work":
                        rials, parts or equipment furnished in
                                                                                      a. Means:
                        connection with such goods or prod-
                        ucts.                                                             (1) Work or operations performed by you
                                                                                              or on your behalf; and
                b. Includes:
                                                                                          (2) Materials, parts or equipment furnished
                    (1) Warranties or representations made at
                                                                                              in connection with such work or oper-
                        any time with respect to the fitness,
                                                                                              ations.
                        quality, durability, performance or use
                        of "your product"; and                                        b. Includes:
                    (2) The providing of or failure to provide                            (1) Warranties or representations made at
                        warnings or instructions.                                             any time with respect to the fitness,
                                                                                              quality, durability, performance or use
                c. Does not include vending machines or other
                                                                                              of "your work", and
                   property rented to qf:Jiiitm¢_Jj for the use of
                   others but not sold/tt       t:::,                                     (2) The providing of or failure to provide

                                       :~: :=i: t:~: : : ;: : :JJ''
                                                                                              warnings or instructions.




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                                                                                 COMMERCIAL GENERAL LIABILITY
                                                                                                CG 00 68 05 09


                             RECORDING AND DISTRIBUTION OF MATERIAL OR
                             INFORMATION IN VIOLATION OF LAW EXCLUSION
   This endorsement modifies insurance provided under the following:

           COMMERCIAL GENERAL LIABILITY COVERAGE PART

    A. Exclusion q. of Paragraph 2. Exclusions of                  B. Exclusion p. of Paragraph 2. Exclusions of
       Section I - Coverage A - Bodily Injury And                     Section I - Coverage B ~ Personal And Ad-
       Property Damage Liability is replaced by the                   vertising Injury Liability is replaced by the fol-
       following:                                                     lowing:
        2. Exclusions                                                  2. Exclusions
            This insurance does not apply to:                              This insurance does not apply to:
             q. Recording And Distribution Of Mate-                         p. Recording And Distribution Of Mate-
                    rial Or Information In Violation Of                        rial Or Information In Violation Of
                    Law                                                        Law
                    "Bodily injury" or "property damage"                        "Personal and advertising injury" arising
                    arising directly or indirectly out of any                   directly or indirectly out of any action or
                    action or omission that violates or is al-                  omission that violates or is alleged to
                    leged to violate:                                           violate:
                    (1) The Telephone Consumer Pro-                             (1) The Telephone ConslUmer Pro-
                        tection Act (TCPA), including any                           tection Act (TCPA), including any
                        amendment of or addition to such                            amendment of or additi.on to such
                        law;                                                        law;
                    (2) The CAN-SPAM Act of 2003, in-                           (2) The CAN-SPAM Act of 2003, in-
                        cluding any amendment of or addi-                           cluding any amendment of or addi-
                        tion to such law;                                           tion to such law;
                    (3) The Fair Credit Reporting Act                           (3) The Fair Credit Reporting Act
                        (FCRA), and any amendment of or                             (FCRA), and any amendment of or
                        addition to such law, including the                         addition to such law, including the
                        Fair and Accurate Credit Trans-                             Fair and Accurate Credit Trans-
                        action Act (FACTA); or                                      action Act (FACTA); or                                    ..
                                                                                                                                              i:l

                    (41) Any federal, state or local statute,                   (4) Any federal, state or local statute,
                        ordinance or regulation, other than                         ordinance or regulation, other than
                        the TCPA, CAN-SPAM Act of 2003                              the TCPA, CAN-SPAM Act of 2003
                        or FCRA and their amendments and                            or FCRA and their amendments and
                        additions, that addresses, prohibits,                       additions, that addresses, prohibits,
                        or limits the printing, dissemination,                      or limits the printing, dissemination,
                        disposal,     collecting,   recording,                      disposal,     collecting,   recording,
                        sending, transmitting, communicat-                          sending, transmitting, communicat-
                        ing or distribution of material or in-                      ing or distribution of material or in-
                        formation.                                                  formation.




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